Case 1:05-cv-01012-.]DT-STA Document 16 Filed 07/07/05 Page 1 of 3 Page|D 10
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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE

 

EASTERN DIVISION
Edward Voorhies )
Plaintiff, §
VS. § Civil Action #: 05-1012-T
COMMISSIONER OF §
SOCIAL SECURITY, )
Defendant. §

ORDER
Wherefore, for good cause shown and it appearing to the court that Plaintiff
requires extra time to prepare Plaintiff’s reply brief, and and, because the United States Attorney
representing the government in this matter consents to the additional time requested,
It is, accordingly, ordered, adjudged, and decreed that Plaintiff is granted an

additional period of time, up to and including August l, 2005 to tile a brief in reply to the

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government’s brief

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with Rule 58 and,'or"!Q (a) FRCP on

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Jackson, TN 38303-3 s
901-424-1305
TN BPR # 006600

Certiticate of Service
I certify that I have mailed a true and exact copy fo the foregoing Proposed Order
to Joseph Dycus, Assistant United States Attorney, 800 Federal Off`ice Building, 167 North Main

Street, Memphis, TN 38103, this the 6th day of July, 2005.

Roger 'tanfielo? ,//

    
 

 
    

  

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 16 in
case l:OS-CV-OlOlZ Was distributed by faX, mail, or direct printing on
July 7, 2005 to the parties listed.

ESSEE

 

Joe A. Dycus

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Honorable J ames Todd
US DISTRICT COURT

